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            Exhibit 8
           Case 1:04-cv-07280-GBD-SN Document 536-8 Filed 04/01/19 Page 2 of 4



World Assembly of Muslim Youth
      Member of the UN NGO's


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     Date, ..................2019/03/20 :~;t.JI                                           The Secretary General Office




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P.O. Box:10845 Riyadh11443 - Kingdom of Saudi Arabia                      ½.1J-&-l l ~_,.all ~ I - \ Im• _,..l:!_;-11 - h\to '-:'·I.>"'
Building 1079 King Fahd Road- Muhammadiah Dist.                                        ~~I~- ~ ..!.LUI L9:!..-k-1 •V~ ~ I ~J
Tel : (+96611) 2050000 Fax: (+96611) 2050011                                  +(~'\'\\\) Y•o • , \\ :~ll! +(~'\'\\\) Y•o .. ,, ,._...I.A,
                                             www.wamy.org e-mail: info@wamy.org
                   Case 1:04-cv-07280-GBD-SN Document 536-8 Filed 04/01/19 Page 3 of 4
                                    In the Name of Allah Most Gracious
                                               Most Merciful


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World Assembly of Muslim Youth
   Member of the UN NGO’s                                                            ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
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      Ref. No: 19520/1                                                                ‫ﻣﻜﺘﺐ ﻱ ﻥ‬
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      Date: 1440/07/13 Hijri                                              The Secretary-General Office
      Corresponding to: 2019/03/20 A.D.

                                                         Authorization
                                                         U




             Sirs. / Messrs. at SABB Bank
             Greetings,
             I hope you are well and in good health.
             Hereby, the World Assembly of Muslim Youth authorizes Ibrahim Bin Mohammad Al-Shaalan,
             of the Saudi Arabian nationality, and his civil registry No. is (1021123920), to audit the World
             Assembly’s bank account No. (044180180004) at your honorable bank and to extract an account
             statement, with taking into consideration that the Assembly has no objection to you to deduct the
             fee of issuing the account statement.


             Kind Regards.
             May the peace and blessings of Allah be upon you.




                  Secretary-General                                     Assistant Secretary-General
          Dr. Saleh Bin Sulaiman Al Wohaibi                                  Financial Director
                      [signature]                                 Dr. Abdul-Hameed Bin Yousuf Al-Mazroo
                                                                                 [signature]


                               Stamp: World Assembly of Muslim Youth
                                      General Secretariat / Riyadh
                                 Established in: 1972 A.D. – 1392 Hijri




P.O. Box: 10845 Riyadh 11443 – Kingdom of Saudi Arabic                      ‫ – ﺍﻟﻤﻤﻠﻜﺔ ﺍﻟﻌﺮﺑﻴﺔ ﺍﻟﺴﻌﻮﺩﻳﺔ‬11443 ‫ – ﺍﻟﺮﻳﺎﺽ‬10845 :‫ﺏ‬.‫ﺹ‬
Building 1079 King Fahd Road – Muhammadiah Dist.                                     ‫ – ﻁﺮﻳﻖ ﺍﻟﻤﻠﻚ ﻓﻬﺪ – ﺣﻲ ﺍﻟﻤﺤﻤﺪﻳﺔ‬1079 :‫ﺭﻗﻢ ﺍﻟﻤﺒﻨﻰ‬
Tel: (+96611) 2050000 – Fax: (+96611) 2050011                              (+96611) 2050011 :‫( – ﻓﺎﻛﺲ‬+96611) 2050000 :‫ﻫﺎﺗﻒ‬
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CERTIF'ICATE OF' ACC TJRACY

STATE of New        York) $:
County of New York)



I, VictoriaVaile, Translation Manager for Nova Languages, Inc., being duly swom, hereby certifr that
Mohanned Khallof is a translator affrliated with Nova Languages, Inc.o a corporate member of theAmerican
TranslatorsAssociation, and that he is competent to fanslate from the Arabic language to the English language.
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accuraG to the best of my knowledge and belief.

RE,: WAIVIY Authortzation to the Larvyerj



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Sworn to before me this                                       //
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